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 7

 8                              UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN JOSE DIVISION
11

12   IN RE GOOGLE ASSISTANT PRIVACY             Case No. 5:19-cv-04286-BLF
     LITIGATION
13                                              DEFENDANTS’ REPLY IN SUPPORT OF
                                                MOTION TO DISMISS COUNTS 8 AND 9
14                                              OF THE FOURTH AMENDED
                                                CONSOLIDATED CLASS ACTION
15                                              COMPLAINT
16                                              Date:       January 6, 2022
                                                Time:       9:00 a.m.
17                                              Dept.:      Courtroom 3, 5th Floor
                                                Judge:      Hon. Beth Labson Freeman
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                    DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS COUNTS 8 AND 9 OF 4AC
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 1                                       I.         INTRODUCTION

 2          Plaintiffs Brekhus and Hernandez are trying to characterize a straightforward software bug

 3   as fraud. But they can’t. Fraud requires justifiable reliance on an intentional misrepresentation or

 4   omission, and Plaintiffs simply do not and cannot allege that. Moreover, Plaintiffs’ Opposition

 5   fails to engage with the obvious alternative explanation: an inadvertent bug in a software update

 6   briefly enabled the optional sound sensing feature offered to paid Nest Aware subscribers, for

 7   others with Home devices. This is not fraud. Counts 8 and 9 should be dismissed with prejudice.

 8                                            II.    ARGUMENT

 9          Importantly, Plaintiffs do not point to a single false representation by Google. Rather, they

10   contend that Google’s representations were “misleading by omission” because Google failed to

11   disclose its ability to cause Home devices “to no longer be exclusively voice activated.” Opp. at

12   2-3. But Plaintiffs do not allege facts sufficient to state a claim under this theory for common law

13   fraud by omission, or violations of the CLRA.

14          Plaintiffs do not allege that Google concealed or suppressed a material fact. Plaintiffs’

15   theory is that Google misled them by not disclosing its unreleased sound sensing technology at

16   the time of their alleged purchase. But the mere existence of that technology (which Google had

17   not even released at the time of Plaintiffs’ purchase) was not a material fact that Google was

18   required to disclose, particularly because Google never intended to enable it for all Home users.

19   See In re Apple Inc. Device Performance Litig., 386 F. Supp. 3d 1155, 1177 (N.D. Cal. 2019).

20          Plaintiffs do not allege a duty to disclose. An omission is only actionable if the defendant

21   had a duty to disclose the fact at issue. Browning v. Am. Honda Motor Co., No. 20-CV-05417-

22   BLF, 2021 WL 3022007, at *11 (N.D. Cal. July 16, 2021). There is no such duty here.

23          First, Plaintiffs fail to show that Google had “exclusive knowledge” of a material fact.

24   Google’s Terms of Service expressly disclosed that Google could automatically update its

25   software. See ECF No. 121, at 55. And Google had no way of knowing, at the time Plaintiffs

26   acquired their devices in 2018 and 2019, that a 2020 software update would have a bug.

27          Second, Plaintiffs fail to allege that Google made a partial representation by not

28   “disclos[ing] facts which materially qualify the facts disclosed, or which render [the] disclosure

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 1   likely to mislead.” In Re Samsung Galaxy Smartphone Mktg. & Sales Pracs. Litig., No. 16-CV-

 2   06391-BLF, 2020 WL 7664461, at *10 (N.D. Cal. Dec. 24, 2020). Marketing the Home as a

 3   voice-activated speaker is not misleading, and the sound sensing technology does not materially

 4   qualify Google’s statements or make them misleading. See In re Apple, 386 F. Supp. 3d at 1177.

 5          Third, Plaintiffs cannot establish a duty from “active concealment” because they fail to

 6   allege any “affirmative acts” of concealment, such as affirmative denials. Herron v. Best Buy Co.

 7   Inc., 924 F. Supp. 2d 1161, 1176 (E.D. Cal. 2013) (cited in Opp. at 3) (“[m]ere nondisclosure

 8   does not constitute active concealment” and “conclusory assertions” are not enough).

 9          Plaintiffs do not allege intent to defraud. Plaintiffs argue that Rule 9(b) permits them to

10   allege intent through a conclusory allegation that “Defendants intended consumers rely on the”

11   alleged misrepresentation that Home devices were voice activated. Opp. at 5. Again, this is not a

12   misrepresentation—Home devices are voice activated. Also, “[a]fter [Ashcroft v.] Iqbal it is no

13   longer sufficient . . . to plead scienter ‘simply by saying that scienter existed.’” Eclectic Props.

14   East, LLC v. Marcus & Millichap Co., No. C-09-00511 RMW, 2012 WL 713289, at *11 (N.D.

15   Cal. Mar. 5, 2012) (quoting In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1547 (9th Cir. 1994) (en

16   banc) (quoted in Opp. at 5)), aff’d, 751 F.3d 990 (9th Cir. 2014); see also Ashcroft v. Iqbal, 556

17   U.S. 662, 686-87 (2009). Plaintiffs must “plead[] facts sufficient to support an inference that”

18   Google acted with intent to defraud, which they failed to do. See Perez v. Auto Tech. Co., No. 13-

19   06728 MMM (VBKX), 2014 WL 12588644, at *5 (C.D. Cal. July 14, 2014).

20          Plaintiffs point to “circumstantial allegations regarding Google’s budding relationship

21   with ADT” (which Google publicly announced); “its competition with Amazon” (which was

22   widely known); and patent applications related to sound sensing (which Google publicly filed).

23   Opp. at 1, 5 (citing 4AC ¶¶ 113-116). But that does not establish fraudulent intent. Indeed, at

24   launch, Google publicly announced the sound sensing feature for paying Nest Aware subscribers

25   who opted in, Bali Decl., Ex. A, and promptly “rolled back” the software update when it learned

26   of the bug. 4AC ¶ 118. And Plaintiffs acknowledge that the very purpose of the feature is to alert

27   the user if the device detects a triggering sound—a strangely visible feature if its purpose was to

28   fraudulently facilitate surreptitious recordings. 4AC ¶¶ 116-117, 261. All of these alleged facts
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 1   undermine any inference of fraudulent intent by supporting the “obvious alternative explanation”

 2   that Google intended to offer sound sensing as an opt-in feature for paid Nest Aware subscribers,

 3   but a bug inadvertently pushed it to other Home users. Eclectic Props., 751 F.3d at 996.

 4          Plaintiffs fail to allege justifiable reliance. Plaintiffs now argue they relied on statements

 5   that Home devices “would be activated only by the phrase ‘ok Google.’” Opp. at 2 (emphasis

 6   added) (citing 4AC ¶¶ 49, 63, 94). But that is not what Plaintiffs allege. They allege that Google

 7   represented that a Home device “was to be” or “is to be” activated by saying “Ok Google” and/or

 8   “Hey Google.” 4AC ¶ 49, 63; see also 4AC ¶ 94. Stating that Home devices can be activated by a

 9   hotword is not the same as stating that Home devices can only be activated by a hotword.

10   Plaintiffs do not allege a single instance of Google saying the latter. Plaintiffs cannot reasonably

11   rely on statements that were never made. At most, Plaintiffs allege that they relied on truthful

12   representations that their devices can be activated by a hotword, which does not give rise to a

13   claim for fraud. And Plaintiffs’ contention that they would not have purchased their devices had

14   they known that a future software update might have the sound sensing bug is implausible and

15   need not be accepted by the Court. See Ferrari v. Mercedes Benz USA, LLC, No. 17-CV-00018-

16   YGR, 2019 WL 2103438, at *4 (N.D. Cal. May 14, 2019).

17          Plaintiffs have not alleged injury. Plaintiffs seek to bring fraud claims based on a bug

18   that they do not even allege they experienced. They argue that the Court should infer that their

19   devices “chang[ed] in function,” and that any further evidence of impact is “peculiarly” within

20   Google’s knowledge. Opp. at 5. But the very function of the feature is to send a notification to the

21   user when a triggering noise is detected. 4AC ¶¶ 9, 116-117. Thus, if Plaintiffs received such a

22   notification, they would know about it and could easily allege it. But they do not. Even viewing

23   all allegations in the light most favorable to Plaintiffs, there is no permissible inference that their

24   devices were ever activated by “alarm events.” Cf. Lassen v. Nissan N. Am., Inc., 211 F. Supp. 3d

25   1267, 1283 (C.D. Cal. 2016) (dismissing consumer claims where “claim of defect [was]

26   theoretical” and “plaintiffs did not actually experience” it) (internal quotations omitted).

27                                          III.    CONCLUSION
28          Defendants respectfully request that this Court dismiss Counts 8 and 9 with prejudice.
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 1
     DATED: September 7, 2021                     PERKINS COIE LLP
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